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 5

 6                                   UNITED STATES DISTRICT COURT

 7                                   EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                        Case No. 2:12-CR-0322 MCE

10                      Plaintiff,

11            v.                                      STIPULATION AND PROPOSED ORDER
                                                      TO CONTINUE THE STATUS
12   TATYANA SHVETS, et. al.,                         CONFERENCE FROM MARCH 25, 2016
                                                      TO MAY 27, 2016
13                      Defendants.

14

15            IT IS HEREBY STIPULATED AND AGREED between the parties and their attorneys,

16   Heiko Coppolla, Assistant United States Attorney, Kenny N. Giffard, attorney for Aleksandr

17   Lastovski, Joseph A. Welch, attorney for Tatyana Shvets, Kelly Babineau, attorney for Andrey

18   Lungu, and Robert M. Wilson, attorney for Aleksandr Maslov, that the status conference date of

19   Friday, March 25, 2016 should be continued to Friday, May 27, 2016. The continuance is

20   necessary, as counsel are still reviewing discovery, meeting with the respective clients and

21   investigating information as well as researching various possible resolutions.

22            IT IS SO STIPULATED that the period of time from March 25, 2016 up to and including

23   May 27, 2016.

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                        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERENCE
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 1          Accordingly, the time between March 25, 2016 and May 27, 2016 should be excluded
 2   from the Speedy Trial calculation pursuant to Title 18, United States Code, Section
 3   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that the ends
 4   of justice served by granting this continuance outweigh the best interests of the public and the
 5   defendant in a speedy trial. 18 U.S.C. Section 3161(h)(7)(A).
 6
            March 25, 2016                        /s/ Kenny N. Giffard
 7                                               KENNY N. GIFFARD
                                                 Attorney for Alexsandr Lastovskiy
 8

 9          March 25, 2016                        /s/ Joseph A. Welch
                                                 JOSEPH A. WELCH
10                                               Attorney for Tatyana Shvets
11
            March 25, 2016                        /s/ Kelly Babineau
12                                               KELLY BABINEAU
                                                 Attorney for Andrey Lungu
13

14          March 25, 2016                        /s/ Robert M. Wilson
                                                 ROBERT M. WILSON
15                                               Attorney for Aleksandr Maslov
16
            March 25, 2016                        /s/ Heiko Coppola
17                                               HEIKO COPPOLA
                                                 Attorney for the United States
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20           IT IS SO ORDERED.
             The status conference presently set for March 25 at 9:00 A.M., is hereby continued to
21   May 27, 2016 at 9:00 A.M., and time under the Speedy Trial Act will be excluded from March
22   25, 2016 through May 27, 2016 pursuant to Title 18, United States Code, Section
     3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation, based on the representations of the
23   parties in their stipulation. The Court finds that the ends of justice served by granting this
     continuance outweigh the best interests of the public and the defendant in a speedy trial.
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25          Dated: March 25, 2016
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                        STIPULATION AND PROPOSED ORDER TO CONTINUE STATUS CONFERENCE
